       Case 3:20-cv-08103-WHA Document 395-8 Filed 08/25/22 Page 1 of 2



 1 Moez M. Kaba, CA State Bar No. 257456
   mkaba@hueston.com
 2 Rami Bachour, CA State Bar No. 324844
   rbachour@hueston.com
 3 Julia Haines, CA State Bar No. 321607
   jhaines@hueston.com
 4 HUESTON HENNIGAN LLP
   523 West 6th St., Suite 400
 5 Los Angeles, CA 90014
   Telephone:     (213) 788-4340
 6 Facsimile:     (888) 775-0898

 7 Douglas J. Dixon, CA State Bar No. 275389
   ddixon@hueston.com
 8 Christina V. Rayburn, CA State Bar No. 255467
   crayburn@hueston.com
 9 Thomas B. King, CA State Bar No. 241661
   tking@hueston.com
10 Neil G. Anderson, CA State Bar No. 307668
   nanderson@hueston.com
11 Justin Sorensen, CA State Bar No. 324817
   jsorensen@hueston.com
12 HUESTON HENNIGAN LLP
   620 Newport Center Drive, Suite 1300
13 Newport Beach, CA 92660
   Telephone:    (949) 229-8640
14 Facsimile:     (888) 775-0898

15 Attorneys for Defendant
   AMAZON.COM, INC.
16
                               UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                SAN FRANCISCO COURTHOUSE
19
     MASTEROBJECTS, INC.,                          Case No. 3:20-cv-08103-WHA
20
                 Plaintiff,                        Judge William Alsup
21                                                 Courtroom: 12
           vs.
22                                                 [PROPOSED] ORDER GRANTING
     AMAZON.COM, INC.,                             AMAZON.COM, INC.’S MOTION TO
23                                                 CONTINUE TRIAL DATE
                 Defendant.
24                                                 Date: October 13, 2022
                                                   Time: 8:00 am
25
                                                   Complaint Filed: May 5, 2020
26                                                 Trial Date: October 17, 2022

27

28

                                               -1-
                                                                  Case No. 3:20-cv-08103-WHA
                              [PROPOSED] ORDER RE AMAZON’S MOTION TO CONTINUE TRIAL DATE
       Case 3:20-cv-08103-WHA Document 395-8 Filed 08/25/22 Page 2 of 2



 1         Upon consideration of Defendant Amazon.com, Inc.’s Motion to Continue Trial Date, the

 2 Court determines that good cause exists for a brief continuance of the trial date in this matter, and

 3 GRANTS Amazon’s Motion. Trial in this matter is now scheduled for [January 9, 2023 /

 4 _________________________].

 5

 6         IT IS SO ORDERED.

 7 Date: ___________________________                            ____________________________

 8                                                              Honorable William Alsup
                                                                United States District Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    -1-
                                                                    Case No. 3:20-cv-08103-WHA
                                [PROPOSED] ORDER RE AMAZON’S MOTION TO CONTINUE TRIAL DATE
